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AO 9I (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

 

United States of America )
v. )
Zachary Ramyard ) Case No.
) 6:23-mj- 1348
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 2022 in the county of Orange in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C, §§ 371 and 2114(a) Conspiracy to Assault and Rob a USPS Mail Carrier

This criminal complaint is based on these facts:

See affidavit.

@% Continued on the attached sheet. My f

 

Complainant’s signature

Jeffrey Starnes, Postal Inspector

 

Printed name and title

Sworn to before me and signed in my presence.

Date: 09/31/2023 buh Aiwrn—

 

Judge 's signature

City and state: Orlando, FL Celeste F. Bremer, U.S. Magistrate Judge

 

Printed name and title
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STATE OF FLORIDA Case No. 6:23-mj- 1348
COUNTY OF ORANGE
AFFIDAVIT IN SUPPORT OF
CRIMINAL COMPLAINT

I, J effrey Starnes, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

 

1. I make this affidavit in support of an arrest warrant for ZACHARY
RAMYARD (“RAMYARD’”), for violations of 18 U.S.C. §§371 and 2114(a)
(conspiracy to assault and rob a USPS Mail Carrier).'

2. Tam a United States Postal Inspector with the United States Postal
Inspection Service (“USPIS”) and have been since 2016. Prior to my employment
with the USPIS, I was a Special Agent for the United States Secret Service (“USSS”)
from 2005 to 2015. In my capacity as a United States Postal Inspector, I investigate
allegations of criminal fraud involving the use of the United States Mail. As a United

States Postal Inspector and previously as a Special Agent for the USSS, I have gained

 

' Per Eleventh Circuit Pattern Jury Instructions, the elements of a violation under 18 U.S.C.
§ 2114(a) are:

(1) the defendant intentionally took from the person described in the indictment any mail
matter or any other money or any other property of the United States then in the lawful
charge, control or custody of that person;

(2) the defendant took the property against the victim’s will, by means of force and
violence OR by means of intimidation; and

(3) — while committing the robbery, the defendant wounded the person described in the
indictment OR jeopardized the life of the person described in the indictment by using a
dangerous weapon.
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training and experience investigating mail fraud, wire fraud, bank fraud, identity theft,
credit card fraud, counterfeit securities and currency, false identification documents,
and other types of fraud. Additionally, I have participated in search and seizure
operations dealing with the foregoing criminal offenses.

3. The information in this affidavit is based upon my personal knowledge,
information obtained from other law enforcement personnel, information obtained
from corporate investigators, and information obtained from financial and other
banking institutions. The information set forth in this affidavit is provided solely for
the purpose of establishing probable cause in support of the criminal complaint.
Because this affidavit is submitted for the limited purpose of establishing such probable
cause, it does not include all the details of this investigation of which I am aware.

PROBABLE CAUSE

A. = March 7, 2022 Mail Carrier Robbery

4, On March 7, 2022, the USPIS was notified at approximately 1:20 p.m.
that a United States Postal Service (“USPS”) mail carrier (the “Victim”) had just been
robbed at the Oak Grove Apartments located in Orlando, FL (“Oak Grove”). The
Victim was on duty in his USPS issued uniform delivering mail to the residents of the
Apartments. The Victim suffered a concussion and a scalp hematoma and had to be
intubated as a result of the injuries he sustained during the robbery. This robbery is

hereinafter referred to as the “Mail Carrier Robbery.”
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3. During an interview on March 8, 2022, the Victim stated that the Victim
was sitting in their USPS mail truck when the first robber (believed to be Camilo Vivas
Sanchez (“Sanchez”)? stepped into the truck, demanded the Victim’s arrow key,° and
attempted to pull the key off of the Victim’s belt. The first robber (Sanchez) pulled so
forcefully that he pulled the Victim out of the mail truck. According to the Victim, the
first robber (Sanchez) was male and wore a blue “hoodie” sweatshirt. After being
pulled out of the mail truck, the Victim then felt something hard strike the back of the
Victim’s head, causing the Victim to fall to the ground. The Victim saw the second
robber (later identified as Jesus Rafael Rojas (‘““Rojas”)),4 who was wearing a red
“hoodie,” put what the Victim believed to be a firearm in his (Rojas’s) rear waistband.
The Victim stated that the two robbers (together, the “Robbers”) then ran in different
directions. According to the Victim, he/she could only see the Robbers’ eyes because

the Robbers both wore “hoodie” sweatshirts and masks.

 

2 A separate complaint affidavit is being submitted for Sanchez in relation to his conduct
during the robbery.

3 Arrow keys are USPS proprietary keys that are serialized. They grant access to various types
of mail collection receptacles usually for a specific zip code(s) that make up a geographic area.
No person outside of the USPS is authorized to be in possession of an arrow key.

4 Rojas was indicted in the case captioned United States v. Jesus Rafael Rojas, Case No 6:22-cr-
00193. On March 3, 2023, Rojas pleaded guilty in that case to charges relating to the Mail
Carrier Robbery referenced herein.
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6. Below is a picture of an USPS arrow key, much like the arrow key that

was stolen during the instant robbery.

 

7. On March 25, 2022, mail was stolen from four communities (collectively,
the “Target Communities”), all less than about two miles from Oak Grove where the
robbery of the Victim occurred. The arrow key stolen during the Mail Carrier Robbery
is capable of opening the mailboxes in the Target Communities.

B. Identification of Rojas (Robber 2) and “Benzo”

8. On the day of the Mail Carrier Robbery, law enforcement obtained video
surveillance footage (the “Surveillance Video”) from a resident of Oak Grove. The
Surveillance Video shows two individuals walking near the area of the crime scene
minutes before the robbery occurred. Below are still shots of the Surveillance Video.
The individual in the red sweatshirt is now known to be Rojas (Robber 2). The

individual in the blue sweatshirt is believed to be Sanchez (Robber 1).
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9. In March 2022 and April 2022, three sources provided information
regarding the robbery. Specifically, after viewing the Surveillance Video, Sources 1
and 2 stated that they knew Robber 2 (in the red sweatshirt) to be Rojas and identified
his Instagram profiles.° According to Sources 1 and 2, Rojas was involved with stolen
checks and he offered people money to use their bank accounts to deposit the stolen
checks.® The Sources further stated that Rojas worked with an individual known as
“Benzo” who was involved in altering stolen checks. According to the Sources, Benzo

recruited people who have bank accounts. Source | later stated that he/she received

 

5 In an attempt to identify the robbers and further the robbery investigation, UPSIS created
reward posters seeking information related to the robbery. The Sources viewed one such
reward poster, recognized Robber 2, and reached out to law enforcement. To date, neither
of the Sources have been provided with any type of reward (monetary or otherwise).

6 In my experience, individuals who steal arrow keys use the keys to steal the mail within mail
receptacles. Individuals involved in these crimes will often alter stolen checks and other
financial instruments to reflect a different recipient than intended. Further, in my experience,
individuals involved in mail theft will often recruit other individuals for the use of their bank
accounts. Often, the name of a recruited bank account holder will be used as the fraudulent
new recipient listed on an altered check. Thus, after the criminal conspirators have altered
the check, they can deposit it in the bank account of the recruited bank account holder and
withdraw funds.
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information that Rojas and the other robber were paid $1,000 each by Benzo for the
Stolen Arrow Key. According to Source 3, when Source 3 showed Rojas the USPIS
reward poster, Rojas admitted to Source 3 that he (Rojas) was one of the men who
robbed the mail carrier; that the robbery was planned; and that they stole a key from
the carrier.’

10. A review of Rojas’s Instagram “followers” showed one of the followers
had the Instagram account “benzosteadyswipin.” On April 25, 2022, I reviewed the
Instagram profile for “benzosteadyswipin” and observed numerous pictures and
videos suggesting that the user of the “benzosteadyswipin” profile was likely involved
in fraud. Specifically, images showed the individual from the “benzosteadyswipin”
profile picture with substantial amounts of cash and jewelry. Other images showed
numerous debit cards and identification cards. Images also showed that
“benzosteadyswipin” was used to recruit individuals for the use of their bank accounts.

11. Through investigation with the Orlando Police Department and Orange
County Sheriff's Office, I identified the individual shown in the profile picture of
“benzosteadyswipin” as J.B. J.B.’s Florida driver’s license showed the same person
that was depicted in the profile picture of “benzosteadyswipin.” Investigation later

showed that J.B. died in April 2022.

 

7 As explained below, Rojas has pleaded guilty and admitted to his involvement in the Mail
Carrier Robbery.

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C. Communications Relating to the Mail Carrier Robbery

12. Following J.B.’s (a/k/a Benzo) death in April 2022, the Osceola County
Sheriff's Office obtained a search warrant for cell phones found inside the vehicle J.B.
was occupying. One of those phones was identified as an iPhone with phone number
XXX-XXX-9468 (“J.B.’s Phone” or the “9468 Phone”). This is the phone number
associated with the “benzosteadyswipin” account per the search warrant return
records provided by Instagram. A review of J.B.’s Phone showed information related
to the Mail Carrier Robbery.

i. RAMYARD Used Phone Number 1588 to Communicate with J.B.°

13. A conversation took place between the user of J.B.’s Phone and an
unknown person (believed to be RAMYARD) via text chat between February 10, 2022
and April 28, 2022. The conversation was a text chat between J.B, and phone number

XXX-XXX-1588 (the “1588 Phone”).? During this conversation, the user of the 1588

 

8 I previously believed that the user of the 1588 Phone (as defined above) was Tarik Jean
Charles (“Charles”), who was charged in the case captioned United States v. Charles, Case No.
6:22-cr-00193, and who also appears to go by the nickname “Z.” Specifically, in the Criminal
Complaint affidavit and search warrant affidavits in that case, I stated that I believed the user
of the 1588 Phone was Charles. As explained in more detail below, however, information
gained from Rojas’s proffer and further investigation ultimately led to the identification of
RAMYARD as the “Z” who was the user of the 1588 Phone (See Sections D and E below).

Records show this phone number belongs to AT&T under a prepaid account. The user paid
cash on the account and used the address of the AT&T store where they set up the account
as their home address. Based on my investigation, as explained in this affidavit below, I
believe the 1588 Phone belonged to and was used by RAMYARD during the relevant time
periods addressed herein (See Section D below).
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Phone (RAMYARD) and J.B. exchanged multiple texts regarding bank accounts and
debit cards in the name of other individuals.

14. On March 3, 2022 (four days before the Mail Carrier Robbery), the user
of the 1588 Phone (RAMYARD) texted J.B., “Bro Rob a mailman And we don’t gotta
worry bout shit no lie,” and “But it’s a federal charge can’t do it w no rental or real
car.” J.B. responded, “Chico would do it I swear,” and “He’ll do anything so I can fw
him.” RAMYARD responded, “Does he have a stool Stolo'® Or someone who can
take him.” J.B. responded, “Nah the nigga I gave money to cause he was finna get
kicked out do They would do it tomorrow.” RAMYARD responded, “They got a ride
Not the rental bro It’s real federal.” Below is the remainder of that particular text chat:

J.B. — They have they own car

RAMYARD - They investigate it fr

J.B. — Wtf u talking about

RAMYARD — They need to take they plates off; Robbing the mail man

J.B. — They gave they all car; They will

RAMYARD - Ok; But they need his key; The mail key

J.B. — Why u need they key tho

RAMYARD - They have to really watch him; I got 5k no lie bro; I swear to

god; I’ll give you it even before u get the key; I been looking all week for

someone; Steal his mail bag and his key

J.B. — Don’t be cappin"™

 

10 T know that “stolo” is slang for stolen car.
1! T know that “cappin” is slang for lying.
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RAMYARD - On god; But don’t be on no weird shit tryna cuff

J.B. - Why you need they keys

RAMYARD - I’m paying u 5k; Bro I need the keys; We can get us any mail
J.B. - U know [’ll handle up

RAMYARD - We want; We can send open up cards; to addys; And get card;
No problem

J.B. — Obhbhh; Ight

RAMYARD -I got a wave

J.B. —I’ll da do it tomorrow; What county thi

RAMYARD - Winter park; They gotta slide quick tho bro

15. Atapproximately 1:22 pm on March 7, 2022 (within minutes of the Mail
Carrier Robbery), the user of the 1588 Phone (RAMYARD) texted J.B., “Yo,” “My
daughter sleeping,” “What's good.” J.B. responded, “Got keys.” Below is the
continuation of that particular text chat:

RAMYARD - Get the zip code; Area; Have him drop current; Throw away the
phone; The nigga phone

J.B. — Police there

RAMYARD - Ik

J.B. — Bro; He hid the keys

RAMYARD - But drop current location
J.B. — Dumb asf

RAMYARD -— Wtf where; Why did he do that; Why!!!!; That’s what there
gonna be looking for; Is he dumb; Way; Let’s go grab them shits
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J.B. -XXXX Walden cir, Orlando, Fl
RAMYARD - Link; Let’s go; I’m bring the 5k on me
J.B. — 5k; 5k**

RAMYARD - Get the mail key

J.B. — 6k**; Vibe; Lowkey; U know I’m worth it
RAMYARD - Let’s go m; Rnrmn; Way

J.B. — Landstar; Or dt 7/11?

RAMYARD - Meet at millennia mall

J.B. — How far

RAMYARD — I’m otw; Rn; How far are you
J.B. - 3 mins

RAMYARD - Ok; I’m pulling up; Bro; Ok; Bro; 5200 cause he ain’t get no mail
bag; I was only paying extra bc I thought he had that too

J.B. — He ain’t have one chill; U don’t care about the mail chico got ducked up;
Mad cuts and he bleedin; U can go get his phone and id they threw it

RAMYARD - Bro 5200; Ill pay you 6k if you check a mailbox in another
neghiborhood in that area; Like one mailbox; Not all; Just check one mailbox
record it; Like open it close it you don’t even gotta take mail

J.B. — Bet

RAMYARD - Ok rn; I’m otw too

J.B. - Way

RAMYARD -7 min

J.B. — Otw 5 mins

RAMYARD - Ok; Check mailbox first
10
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J.B. — Neighborhood next to it; Shit got; Hot

RAMYARD — Not the one next to it; Around that area; Just check one mailbox;
They don’t know if it’s the mail man key or what lol; They can’t just arrest u for
checking ur mailj

J.B. - Mad copsssss

RAMYARD - Fr; They probably going to all the routes rm; Watch for unders
covers; ?; Don’t call me regular phone call; Saying that; Way

J.B. - [Sends RAMYARD video of opening a box with an arrow key]
J.B. — I’m keeping this; Gugu; Gmfu

RAMYARD - Lol wtf

J.B. — guru; I’m finna come up Ms

RAMYARD - Nigga wya lol; There’s mad cops

J.B. - Mall

RAMYARD - Your so fucking dumb why did I do that, U; On camera
J.B. —Nah

RAMYARD - It’s a mailbox that has cameras?

J.B. — Nun kid

RAMYARD - Ok; Good

J.B. —- I’m not dumb

RAMYARD - Tonight ima have a mission for u

J.B. — Better; U cap

RAMYARD - There’s finna be cops watching all those routes bro; We gotta be
careful; No lie

J.B. — U Don’t fwm for real; U my brother; U see I do everything u say
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RAMYARD - We going up kid; Yo; Meet me in the mail

J.B. — At mall

RAMYARD - Ok I’m rite here; You at Neiman

J.B. - Same

RAMYARD - Delete that video rn from ur phone; We need new numbers

16. J.B. and RAMYARD exchanged numerous text messages containing
personal identifying information, including information for bank accounts that
received altered check deposits.

it, RAMYARD Communicated with J.B. on Telegram

17, J.B., using Phone 9468, also messaged RAMYARD via Telegram’
between the dates of February 22, 2022 and April 26, 2022.'* Specifically, on March
3, 2022 (four days before the Mail Carrier Robbery), RAMYARD sent J.B. the below

picture of three USPS arrow keys:

 

12 For instance, J.B. sent RAMYARD personal identifying information for the following
individuals: E.G. on February 16, 2022; I.E. on February 12, 2022; and S.G. on February 22,
2022. Bank records showed that accounts belonging to each of these three individuals
received deposits of altered checks in late February 2022.

'3 Telegram is an encrypted communication platform which allows direct messaging.

14 On March 3, 2022, the user of the 1588 Phone (RAMYARD), asked J.B., “You have
telegram?” J.B. then gave RAMYARD his Telegram username “@benzodaswiper.” At about
3:47 am, RAMYARD texted J.B., “(Check tele.” J.B. responded on the below Telegram chat,
“Nah winter park for sure.” Based on this information, the user of the 1588 Phone and
Telegram account user in the below referenced chats with J.B. is believed to be the same
person and is referenced as RAMYARD.

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RAMYARD then stated, “Don’t make it look like you robbing them for the key. Rob
them for everything. Money wallet everything. But the key is the first thing to take.
And mail bag. It has to be winter park area. Ora rich area.” J.B. responded back, “Nah
winter park for sure.”

18. On March 7, 2022 at approximately 2:13 p.m. (within about an hour of
the Mail Carrier Robbery), J.B. messaged RAMYARD and stated, “Yo” and “I’m
keeping this.” J.B. then sent a video to RAMYARD showing the opening of an

apartment mailbox using an arrow key, a still picture of which is below:

 

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iit. J.B. Communicated with Rojas (Robber 2)

19. Another conversation took place via text message between J.B. and a
phone number ending in 7880 (the “7880 Phone”) between the dates of February 10,
2022 and April 21, 2022. During these chats, the 7880 Phone was being used by Rojas
(Robber 2) and/or Sanchez (Robber 1).'5 As shown below, these chats referenced “Z”
or “Zee” (which I believe to be an alias for RAMYARD)."°

20. On March 5, 2022 (two days before the Mail Carrier Robbery), Rojas
(Robber 2) texted J.B. “yooo”, “where mail man???” J.B. responded, “Windermere”,
“Winter park.” Below is a continuation of that chat:

Robber 2 - bro if we don’t get any today I got postal jere in Kirkman ima look
if not its done by tomorrow early

J.B. - No mail Tomorrow

Robber 2 - okay Monday; Ima do it my onw bro tell z to put more in the table
im taking the risk

J.B. -I’ll put more handle up tho nun comes back to Benzo or z tho
Robber 2 — what that means

J.B. - Get keys

 

1S Based on my investigation, including facts known to me about Rojas (Robber 2) and
Sanchez (Robber 1) and the context of the communications, I know that the number ending
in 7880 was sometimes used by Rojas. However, my investigation, including subscriber
information and location data for the phone, indicates that the 7880 Phone belongs to
Sanchez.

16 As referenced above, I previously believed that “Z” or “Zee” was Charles. However, further
investigation, based, in part, on information gained from Rojas’s (Robber 2) proffer, has
shown that “Z” or “Zee” is RAMYARD.

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21. At approximately 1:02 p.m. on March 7, 2022 (the date of the robbery),
J.B. texted the 7880 Phone, “Yooo” and “What area.” At 1:27 p.m., Rojas (Robber 2)
texted a picture, shown below. The picture depicts the location of the Mail Carrier

Robbery at Oak Grove:

Widen "ams
Candoviriuar

A continuation of that particular chat is below:
J.B. — Where wallet; And phone; Way; Don’t ever talk to me like that
Robber 2 — bro im just mad asf bro that nigga hit me and camilo DUMB ASF
HE RUN THE OTHER WAY; I WAS IN THE CAR WITHOUT Keys and
all like shit mad hot
J.B. — U good tho vibe; U toook bag or no

Robber 2 — like you gotta understand that shit just happened and u come to me
screaming and shot; he dindt have no bag he had a cest

J.B. — What’s a cest

Robber 2 — [Robber 2 sent a screenshot of a Google translation for cesta which shows
basket]

Robber 2 — nigga I had to run like a mile and I was dying, just fell from my bike
yesterday

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J.B. - No id or phone or u throw it somewhere

Robber 2 - i throw everything bro don’t ask shit on the phone bra shit mad ho;
what time u coming bro?; pick that im bring it, im out of town for couple days

J.B. — Where u going

Robber 2 — Miami; shit hot bro fr; ima shower and im out, where I pick up my
money; Vv; yoo

J.B. - Yo; Zee Mad at me

Robber 2 - 77?; I need my bag bro I got what u asked me for idc bro need that
J.B. —- We need mail bag and phone and id

Robber 2 — im out bro fr shit hot asf we got ppl that live in that complex

J.B. — He gonna give me less; Imma pay u

Robber 2 — bro I need what we talked about that’s why I done this shit, you
cannot change plans the day its done bro, this streets shit after today we lock
inn bro.this wasn’t scaming bro took the risk; no game bro

J.B. - Ik but he giving me less but imma pay. U good; I'll take the lose

Robber 2 — wya?

Robber 2 — another shit too bro now this nigga saying he going to my fam crib

J.B. — Meeting zee

Robber 2 — nigga; this gotta be word by word bro if not im not working anymore
my nigga

J.B. —- Yo wtf u on; I got ur money; I needed bag with mail; Id and phone; Gotta
make it seem like u was robbing him

Robber 2 — I did it bro ion got the phone I throw all that; I took the little chain
too; bro u txting to much shit fr

J.B. — Way; Finna pull up on u in a few

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Robber 2 — bet; same place; uo; wya?; my baby momy giving birth

J.B. — Yo; Imma make u money

22. These conversations, in which Rojas (Robber 2) and J.B. reference “Z”
or “Zee” (believed to be RAMYARD) indicate that RAMYARD was paying the
Robbers, through J.B., to commit the Mail Carrier Robbery.

23. Later on March 7, 2022 at approximately 10:42 p.m., Rojas (Robber 2)
texted J.B., “omw to Miami”, “yo bro”, “my bad for talk to you that way today bro
but I was just in pression and u was screaming at me like 5 min after”, “u know I love
u, and this not only for money its for show you and z loyalty nigga.”

D. Evidence Showing RAMYARD is the User of the 1588 Phone Number

24. RAMYARD’s Florida driver’s license image is shown below:

 

25. On January 4, 2023, an interview was conducted with B.R., who was
identified through phone records as someone who had contacted the 1588 Phone
Number several times beginning in January 2022. During the interview, B.R. searched
his/her phone for any contacts with the 1588 Phone Number but stated that he/she

could not find any such contacts. However, while B.R. searched for the 1588 Phone

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Number on his/her phone, the name “zjewett” appeared. B.R. stated that he/she met
that person (who he/she referred to as “Z”) through a friend. B.R. described “Z” as
20-21 years of age, possible Indian heritage, and approximately 5’7” to 5’8” tall. B.R.
stated “Z” was missing one of his front teeth.

26. Additional information was also gathered from the text chat between J.B.
and the user of the 1588 Phone, which indicates that RAMYARD was the user of the
phone. For instance, on March 13, 2022, the user of the 1588 Phone texted the
photograph below to J.B. J.B. “loved” the image and then responded “Damn shit hit
me cali was littt.’ I have identified J.B. as the individual on the right in the
photograph. Rojas (Robber 2) identified the male individual in the center of the

photograph to be the person he knows as “Z.”

 

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27. On March 30, 2022, the user of the 1588 Phone texted the below
photograph to J.B. The person in the upper right-hand corner of the image resembles

RAMYARD.

 

28. On March 30, 2022, J.B. texted the user of the 1588 Phone and stated, “I
ain’t say nun about u”. The user of the 1588 Phone responded, “How would he even
know me”. J.B. replied “Cause yg said bring him cards and he said shit fucked up
when zack ran off on me I’m not even talking like Wyo” and then J.B. stated “Always
assuming”. RAMYARD replied “Lol idek who that kid is.” “Zachary” is
RAMYARD’s first name.

29. On April 9, 2022, J.B. texted the user of the 1588 Phone, “U can open
crib or gotta link u dt?” The chat continued:

RAMYARD - Y¢g locked it yesterday?

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J.B. — Yea he said he did; So I gotta push up to u?

RAMYARD - 50$ a night; No deposit; If you clean the spotless 2 night free;

Like all trash gone

J.B. — Yg said Ight; Niggas finna handle up; 10 from 7/11; Or go to sky house?

RAMYARD - Sky

J.B. -—15

RAMYARD — Ok I’m otw; Bro; Y’all gotta Fr clean; Don’t bs

J.B. —Bro u know me; U looking out for me; Why would I do u slime; I’m going

broke big bro

RAMYARD — Ok, Way; I’m bouta be there in 10 min

J.B. — Here

RAMYARD - Ok; Way; You not here; Ok; Come; XXXXX calderdale ave

J.B. - U the goat

RAMYARD — Throw all the food away

J.B. - There garbage bags?

RAMYARD -— No buy; Garbage bags paper towel and spray; From cvs or

walgreens
According to law enforcement databases, on January 25, 2023, mail from Orange
County Florida Utilities for RAMYARD was received at XXXXX Calderdale Avenue
address (Windermere, FL). On January 27, 2023, mail for RAMYARD from Duke

Energy was received at that residence.

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30. On April 4, 2022, the user of the 1588 Phone texted J.B., “And we go to
my Windermere crib and chil for the meantime.” J.B. responded, “That would be
perfect.” The following is a continuation of that chat:

RAMYARD - The air bnb one; The good one

J.B. — Yeaaaaa; Bro I can book it; I should have been ask u; Only be and yg in

there; I’m sooooco dumb; Been at embassy paying 450 a day; For 8 days

RAMYARD — Ok we gotta come before 4:30 they said; Can u come rnrnrn; ??;

7?; How far

J.B. —- Okay; I’m 3 minutes from my car

31. On April 5, 2022, the day following the above chat, the Orange County
Sheriff's Office was called out to XXXX Coventry Park Way, Windermere, Florida,
in relation to a domestic incident. When speaking with police, a female witness
identified two individuals, “Benzo” whose real name she knew as “Jayden” and
“White G,” who she identified was Benzo’s brother. “White G” is believed to be “yg”
who is referred to numerous times in the text history between J.B. and RAMYARD.
While police were on scene for the domestic incident, they received a call from a
resident in the same neighborhood. The resident discovered a discarded backpack on
their property. Police recovered the backpack and determined that it belonged to J.B.
Inside the backpack were numerous bank debit cards belonging to other individuals.
One of the debit cards belonged to Sanchez (Robber 1).

32. Records for J.B.’s benzosteadyswipin Instagram account show J.B.

logged into the account on April 5, 2022 and on April 8, 2022. The IP addresses
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associated with the logins were identified and internet service provider records showed
the service address as XXXX Coventry Park Way, Windermere, Florida. The internet
account subscriber was identified as “Zachary Ramyard.”

33.  Airbnb provided records for the registered owner of the residence at the
time of the April 5, 2022 incident. Records show the XXXX Coventry Park Way
residence was registered to M.D. Open-source investigation showed that M.D. and
RAMYARD created an online baby registry for a child due in 2021 and listed the
location as Windermere, Florida.

34, A recent search of law enforcement databases revealed a current address
for M.D. as XXX Lake Avenue, Apt. XXXX, Orlando, Florida (the “Apartment”).

35. On February 1, 2023, I spoke with a manager of the apartment building
located at XXX Lake Avenue, Orlando, Florida. I showed the manager pictures of
RAMYARD and M.D. The manager recognized both individuals as living in the
building. The manager confirmed that M.D.’s name was on the lease for the
Apartment and that the phone number provided ended in 7716. The manager
confirmed that the lease started on February 1, 2022 and expired on January 31, 2023
(one day prior to my meeting with the manager).

36. Records for the 1588 Phone Number show that the user of that number
exchanged approximately 60 phone calls with M.D.’s 7716 number between January
18, 2022 and April 18, 2022. Finally, records from the 1588 Phone Number show the
phone’s location was in close proximity of the XXX Lake Avenue address hundreds

of times between the end of January 2022 and the end of April 2022.
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E. Rojas (Robber 2) Identified RAMYARD as “Z”

37. On January 19, 2023, a proffer was conducted with Rojas (Robber 2).
Rojas stated that J.B. recruited him and Sanchez (Robber 1) to rob the mail carrier and
steal a USPS arrow key. According to Rojas, on March 7, 2022, after they robbed the
mail carrier, he and Sanchez met J.B. and exchanged the arrow key for $1,000 each.

38. Rojas stated that he learned J.B. gave the arrow key to “Z” the same day
as the robbery. Rojas also witnessed a telephone conversation between Sanchez and
J.B. where J.B. told Sanchez that he (J.B.) gave the key to “Z.” During the telephone
conversation, J.B. stated that he met “Z” at the Florida Mall where he (J.B.) gave him
(“Z”) the key.

39, Rojas described “Z” as having Indian heritage, in his early twenties, dark
skin, and with diamonds for his upper and lower teeth. Robber 2 stated “Z” had dark

circles around his eyes.

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CONCLUSION
40. Based on the foregoing, I submit there is probable cause that Zachary
RAMYARD committed violations of 18 U.S.C. § 371 (conspiracy to assault and rob

a USPS Mail Carrier, in violation of 18 U.S.C. § 2114(a)).

Respectfully submitted,

SIM he

LU let
J trey Starnes, Postal Inspector
United States Postal Inspection Service

 

Affidavit submitted by email and
attested to me as true and
accurate by videoconference
consistent with Fed. R. Crim. P.
4.1 and 41(d)(3) this 31st_ day of

March, 2023. 5

THE HONORABLE CELESTE F. BREMER
UNITED STATES MAGISTRATE JUDGE

 

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